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JAN 22 2021 CASTLE
United States Treasury CLERK Us DITA couRT |
city of Washington, District of Colun}ialESTE\ OBTRETOF WASANGTONATACOMA
1500 Pennsylvania Avenue NW 20220 =a \
Re: The Redemption of Several Suitors |
On and for the behalf of the
UNITED STATES

f 6 -cVv-S5 Sao

 

 

TRUE BILL - MULTIPLE CLAIMS

 

 

 

COMES NOW, David Merrill of the VAN PELT family and several Redeemed
Claimants; suitors according to the 'saving to suitors’ clause’ of 1789. Demand is made for
redemption of central banking currency in Lawful Money in all transactions pursuant to Title 12
USC §411 and §16 of the Federal Reserve Act. Service to the agent is service to the principal
and vice versa.

The law reads, "They shall be redeemed in lawful money on demand at the US
Treasury...". Leaving the suitors outside the scope of the Federal Reserve Act and US Banker
Code, according to remedy granted by Congress. However various agents are dodging judicial
bonding with deviant oaths of office and appear to be protecting the ‘status quo’ by lumping the
remedy provided by Congress into a category of tax filing - a broad swipe presumption,
Frivolous Tax Arguments. Additionally the War is Over with earmarks being noted in the outline
below. Evidence repositories bristle with evidence that administrative remedy is exhausted and
that there is no federal or state judiciary that stands in honor.

Since 2004 and originating in Colorado state district courts judges only pretend to be
judicial by dodging bonding obligations through deviations in the oath of office process. This is

fraud by omission to behave as though business is as usual in One Form of Action while there is
no judicial oversight. As a result redeemed people have collected claims in the USDC at Albany,
New York and accordingly to the "So help me God" clause appended ad lib by George
WASHINGTON and Robert LIVINGSTON - Mason Bible at St John's Lodge, April 30th, 1789.
The same Judiciary Act supplies the federal judge oath of office in proper English while all but
William Hobbs REHNQUIST and Brett Michael KAVANAUGH have altered the fidelity bond,
"SO HELP ME GOD.” Verification of KAVANAUGH witnessing reveals trickery and dishonor,
breach of trust. Recently it appeared that Steven Leon BERNARD the chief justice of the
Colorado Court of Appeals was the only judicial oversight in administrative law but when push
came to shove he had entered into collusion in the same style that former State Attorney General
John William SUTHERS did, by filing a proper oath in the last hour. This creates a delusion of
de facto authority through misuse of case law that says when a flaw is pointed out and the officer
immediately corrects it, there is no disruption in immunity and authority. So in at least two
instances judicial officers will keep misbehaving until pressed on the record and rely upon
SCOTT and STANLEY case law to create the illusion of de facto authority.

Territorial Governor William GILPIN issued script in Colorado to pay Union soldiers and
this developed into the fiat currencies of the United States - the Greenback and the US note. So
the outlined events play a collateral and intertwined theater of war, coordinated with the 1917
Trading with the Enemy Act on the federal US Treasury level that enfranchises the central bank
obligations to settle all these accounts; even those transactions with the various state revenue
agencies. As Principal, Steven Terner MNUCHIN (Janet Louise YELLEN) is obligated and
expected to contact state IRS and other revenue agents to stop, cease and desist paper badgering.

A quick summary of evidence milestones should quickly convince Steven Terner

MNUCHIN (Janet Louise YELLEN) that a quick and square settlement is in order to preserve
the honor of the United States and that this billing is on and for the behalf of the United States.
Outlined here is a true bill of indictment demonstrating that hearings in a proper judicial setting
and the spirit of lien on Mr. MNUCHIN (Janet Louise YELLEN) in his personal capacity (Rule
B(1\(c)) will settle any challenge these bills quickly through a comprehensive (Rule E(4)(f))
hearing. Court review is impracticable:

Rule B(1)(c) If the plaintiff or the plaintiff's attorney certifies that exigent
circumstances make court review impracticable, the clerk must issue the summons and
process of attachment and garnishment. The plaintiff has the burden in any post-attachment
hearing under Rule E(4)(f) to show that exigent circumstances existed.

In light of the facts Steven Terner MNUCHIN (Janet Louise YELLEN) as Secretary
of the Treasury and also as the US Governor for the International Monetary Fund - United
Nations has no judicial or sovereign immunity from personal lien, precisely because there is
no judicial review. The following outline is limited to demonstrating that all administrative
and judicial remedy has been exhausted. In an overall indictment of general bond-dodging
these succinctly outlined points stand out in the spirit of any E(4)(f) hearing.

1) Colorado oath deviations
a) Initial collusion
i) Bond dodging by John William SUTHERS
(1) As Fourth Judicial District Attorney
(a) Certificate of Fact SUTHERS has no oath on file to be seated as state
district attorney.

(2) As Attorney General
(a) Tardy oath in deviant form when the Secretary was pressed for a similar
certificate of fact, and collusion is by witness Mary J. MULLARKEY then
Chief Justice of the Colorado Supreme Court.
(3) Correcting upon leaving Office to become Mayor of Colorado Springs
(a) In the last hours of being State Attorney General John William SUTHERS
swears out an oath that is in proper form and also bordered like a financial
instrument. (Correcting per SCOTT and STANLEY after intentionally
running a vacant office for his entire term. This included dissolving THE
STATE OF COLORADO CAPITAL FINANCE CORPORATION to
avoid payment of my $20M lien.)
2) Rectification of Judiciary
a) General assembly legislates correction of form of oath in 2018 HR 1138
i) The Bill itself proves that following Form of Oath is important in law
ii) Secretary of State will not enforce by returning variant oaths for correction
whatever the variation from form
iii) Secretary of State refuses to do business with jailed Patrick Neill's father
Francisco MORENO - refusing to provide oaths of trial judges even before the
COVID-19 pandemic
3) SCOTT and STANLEY case law misuse - an administrative officer acts for years with a
faulty oath and corrects it to preserve de facto authority when under the gun about
bonding
a) SUTHERS corrects the de facto misdeed by correcting his oath before leaving office

- twice; once as district attorney and then as state attorney general
b) SUTHERS dissolves his evidence and money laundering operations - STATE OF
COLORADO CAPITAL FINANCE CORPORATION to avoid settlement of my
$20M claim

c) Colorado Court of Appeals chief judge Steven Leon BERNARD replaces Patrick's
appeal tribunal in the last hour presumably conforming to HR-1138 but the Secretary
will not do business, using COVID-19 as an excuse to completely shut down

d) Secretary of State fails throughout, to enforce general assembly lawful form of oath
i) Form of Oath prior to 2018
ii) Form of Oath current
iii) Kirk Stewart SAMELSON - Chief State District Judge early oaths conformed to

law, but then are deviant from the constitution and statute when faced with my
$20M billing
iv) Billing for $20M seems to have spurred a pandemic of deviant oaths of office in
Colorado through Attorney Myopia; judges quit reading the oaths before signing,
and often swearing out new oaths midterm
v) David A. GILBERT resumed case upon recusal of SAMELSON and the
GILBERT early oaths conformed to law, but then are deviant from the
constitution and statute
(1) Steven Leon BERNARD - Finally! Judicial Oversight
(a) Assigns bond dodging tribunal - revealed
(b) Swaps out disqualified tribunal for a new tribunal in the last hour

(c) No Secretary of State enforcement of New Form of Oath in sight!
(i) Secretary of State shut down for oath business due to COVID-19
pandemic will not provide oaths for the new and last minute tribunal
(ii) Known and planned mailing delays in the corrections system ran the
appeal response clock before Patrick Neill knew about the new
tribunal panel
4) Federal judge oath deviations
a) SO HELP ME GOD is CODE
i) Court of Federal Claims
(1) Victor WOLSKI 15-cv-1415 Doc 9 Page 2 admits his oath of office is deviant
in form
b) Brett Michael KAVANAUGH and Mentor William Hobbs REHNQUIST
i) Albany Remand - seeking judicial oversight
(1) Doc 103 KAHN 3 pages attached; in collusion with mail tampering shuts
evidence repository down
ii) Peculiar witness signatures
(1) John Glover ROBERTS has a deviant oath of office
(2) Anthony McCleod KENNEDY witnesses KAVANAUGH judicial oath with
scratches that look like KAVANAUGH signed it - while John Glover
ROBERTS signed the KAVANAUGH administrative oath
(a) John Glover ROBERTS probably has a deviant oath of office, and
therefore was outside the scope of authority to sign the KAVANAUGH
oath but the Department of Justice refuses to provide the ROBERTS oath,

while quickly providing the KAVANAUGH oath
5)

6)

7)

(b) The Department of Justice defaults and mail tampering delaying and
diverting even Registered Mail process portray collusion to systematically
conceal that the nature of judiciary has always been central bank agency
with the federal judges especially being tellers

(c) Court review at both state and federal levels, for redeemed men and
women is impracticable

Evolution of IRS Form Letters around redemption demands

a) Salvador MENDOZA USDC Eastern Washington 18-cv-53, deviant oath and shill
opinion - Doc 14
i) Form 105C now encourages filing suit - in USDC or Court of Federal Claims -

both forums are bereft of any bonding

Denise Elizabeth's Letter of Forgiveness in order to acquire dual citizenship and rescue

her family from systematic white genocide in South Africa

a) Registered Mail allegedly a very secure mailing method
i) Manual DMM 503 clarifies

b) Postal Investigator reports in flippant dishonor that the letter was diverted to Miami
(US Customs) and then went to Central America. Global tracking states that there will
be no more reporting. Registered Letter #RB282221117US reports quite strangely,
"This is the final status. Carrier doesn't provide further tracking updates."

Richard James - Maryland USDC blatant dishonor over $49

a) 2012 evidence dumpster MD USDC 12-mc-484
b) Chief Judge James Kellehar BREDAR goes silent rather than dump the filing in the
dumpster but will not mail it returned, or refunded. Monumental Process Service has
provided photos and an affidavit of filing with $49 USPS money order

c) Administrative remedy for all cases in the dumpster is USDC is admission that the
USDC is run in administrative law. American Jurisprudence 2d makes clear that the
‘government in miniature’ cannot exist absent judicial oversight.

d) On January 5, 2021 Richard Douglas BENNETT disposed of Richard James' papers
in the dumpster at Doc 47. The Department of Justice will not provide the BENNETT
oath of office and the professionally filed paper have never arrived back to Richard
James or Monumental Process Service according to the alleged court order. Irregular
process is becoming typical when it obscures the true nature of America's judiciary.

In several instances critical process of redemption is thwarted by tampering with

Registered Mail in collusion between the Department of Justice, the US Postal Service and

USDC Clerks and "Judges" all acting like bank tellers for the US Central Bank, the Federal
Reserve. The mail fraud increases as this billing is perfected as though the Department of Justice,
the US Postal Service Inspectors and the clerks and judges of the USDC are in collusion to
thwart process. Judicial review is completely impracticable as described in Rule B(1)(c) - Ergo
this is a True Bill.

Steven Terner MNUCHIN (Janet Louise YELLEN) as Secretary of the Treasury and as

US Governor for the International Monetary Fund is responsible for managing the endorsement
of private credit as well as redemption from the rigors of central banking, as provided by law.
Security and confidence building measures dictate that this settlement must be executed plain

and swift. The release of falsified charges in ideals of highly compressed information
infrastructures compelling such absurdities like debt is sustainable must be managed carefully in
order to avoid macroeconomic implosion. Therefore to maintain honor of the United States in
light that the Trading with the Enemy Act has been Omitted from the Bankers' CODE, fair

central banking adjustments must be made in accounting to settle these debts.
My signature means that this True Bill and outline is truthful and supported by direct

testimony from state and federal officials, bonded or not. I sign under penalty of perjury in any

properly bonded court of competent jurisdiction that the aforesaid is correct and true.

 

 

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DEPARTMENT OF LICENSING - BUSINESS AND PROFESSIONS DIVISION
____ THIS CERTIFIES THAT THE PERSON OR BUSINESS NAMED BELOW IS AUTHORIZED AS A

169326 10/01/2017 10/01/2021

License Number Issued Date Expiration Date

 

 
PROCESS

This billing is being mailed to Melvin CAHOON at Rock Solid Process Service with $200 cash
so to serve it upon and file it into Case #16-cv-5520 USDC Washington. Upon publication that
pdf file is mailed to:

Steven Terner MNUCHIN

(Janet Louise YELLEN)

Secretary of the Treasury US Registered Mail #
US Governor for the IMF

1500 Pennsylvania Avenue NW

city of Washington, District of Columbia. 20220

To avoid sales call harassment and identity theft a final address list of the twenty-four suitors is
sent to Rock Solid, in a second mailing, who will include the addresses to the US Treasury with
the published pdf printout.

It is suggested that Rock Solid employ Monumental Process Service in Maryland for the service
of process on MNUCHIN as US Governor for the International Monetary Fund. This may
facilitate adjustments to Special Drawing Rights, the IMF Trust Fund as required.
Case 1:18-mc-O0007LEK-DJS Document 103 Filed 01/23/20 Page 1 of 33

 

RE 285 186 927 US CT COURT NLD. OF H
United States District Court for the FILED
District of New York - Albany
James T. Foley U.S. Courthouse
Suite 509; 445 Broadway
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On and for the behalf of the a
UNITED STATES ae

 

 

 

 

 

 

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ASSISTANCE TO unnumbered DoJ INVESTIGATION |

 

 

 

COMES NOW, David Merrill of the family VAN PELT and Redeemed. Demand is
made for redemption of central banking currency in Lawful Money in all transactions pursuant to
Title 12 USC §411 and §16 of the Federal Reserve Act. Service to the agent is service to the
principal and vice versa. The integrated Refusal for Cause on the Department of Justice hercaficr
"DoJ" Letter entitled "Re: Investigation of Federal Violations Pertaining to Jonathan Michael"
dated January 6, 2020 is not to offend the attommeys at the Department of Justice (DoJ), Prudence
dictates that the Letter be refused for cause timely rather than to just be retumed. The writing,
"Refusal for Cause" across the Letter/Presentment is written from Jonathan Dean's hand and the
original Letter/Presentment refused for cause is be mailed to the US TreasuryfMNUCHIN with
this published pdf file with the mailings listed below.

Dear Clerk of Court,

This document is to joinder Jonathan Dean of the MICHAEL. family into this Albany
Remand of gamishments albeit his action of garnishment is preventive and preemptive. Jonathan
Dean has been redeeming lawful money since 2014 and is thoroughly educated about his right to
be redeemed and demand lawful money redemption.

The memorandum attached and fully integrated serves the purpose of establishing a
pattern of behavior showing the Department of Justice in collusion with the racketeering and
criminal syndicalism. Already established is how in the opinion of the Department of Justice
certain oaths may be disclosed to inquiring suitors joindered in this Albany Remand while the
key important oaths are nol. While most of the exhibits demonstrate the point from previous

 

 
 

Case 1:18-mc-000074LEK-DIS Documenti03 Filed 01/23/20 Page 2 of 33

Albany Remand entries a more poignant point about DoJ mischief is demonstrated by the
reversal of delivery worthy of reporting to a postal inspector. The Return Receipt card shows
completion of delivery to the Department of Justice while online tracking demonstrates how it is
optional for the same Department of Justice to retrieve mail from the USPS.

There are twenty or so claimants joindered into this Albany Remand all on and for the
behalf of the United States. Risk management and security and confidence-building measures for
global central banking, interested. parties have keen interest in knowing how bond-dodging
among literally all the federal judges exacerbates mischievous behaviors. The rclease of highly
compressed information infrastructures creating the delusion debt can function sustainably as
basis for currency must be carefully regulated in order to maintain stable global civil
infrastructure.

Refusal for Cause is issued upon the Department of Justice as the federal judiciary is
reduced to vacant offices for bank tellers in administrative law without any judicial oversight.

According to the rule of law the clerk of court shall issue garnishment on the US
Treasury to settle these claims. Remedy prescribed by Congress in 1913 should be honored, as
well as the rules of court in admiralty. Here is a summary of claims:

The amount now due may be calculated within the Albany Remand by claim
forms. "Pay to: David Merrill or David Merrill VAN PELT" by Treasury Check for

$26,000,000.00 sent ta David Merrill cfa UPS Store $6046, 720 N lth St; STE A,

Renton, Washington. 98057 and:

Longino Idrogo Doe Ll, Page 23
Troy Lee Doc 1, Page 35

Cruiz Steven Doe I, Page 39
Kevin Brian Doc I, Page 34

Karl Nelson Doc 1. Page 65
Mark Christopher Dac 1, Page 73
Denise Elizabeth Doe 1, Page 75
Michael Holman Doc I, Page 81

| Christopher Jonathan Doe 4. Page |
10. Scott Robert Doc 6, Page 2

Ll, Rickie Eugene Doc 11, Page t

12. Luis Alberto Doc 12, Page 23

13. John-Paul Albano Doc 18, Page 4
14. Patrick Neill Doc 30, Page 13

13. Amanda Joy Dac 33, Page 8

16, Michael Paul Doc 38, Page 4

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Case 1:18-mc-00007-LEKDJS Document 103 Filed 01/23/20 Page 3 of 33

£7. Steven Walter Doc 31, Page IT
18. Kelly Lynn Dac 68, Page 6
19. Leith Suzanne Doc 82, Page 9

  
 
 

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PENDRAGON

 

 

Additionally joindered are Leith Suzanne (Doc 82, Page 11 of 50), Thomas Edward (Doc 85, Page 3 of
58) John Pace' (Doc 88, Page 7 of 15) and Jonathan Dean (Doc 103, Page 8 of 33).
BILLING OF CLAIMS

Mail the $20,000,000.00 US Treasury check to David Merrill at:

David Merrill
720 N 10th St, STE A
Renton, Washington. 98057
ROBERT ¢. “BOB" BALIAK EL Paso County, C0
$2U4T/2008 10:12:48 AR

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Doc $9.08 Page
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FOLLOW INSTAUCTIONS (front and back) CAREFULLY

A NAME & PHONE OF CONTACT foptonnl]

8, SENG ACKNOWLEDGMENT TO: (Name and Address}

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Page 1 of 2)

    
  
 

 

   
    
  
  
     
APTICLE III - PURPOSES

The purposes for which the corporation is organized are
as f3llose:

(a) To acquire by purchase, iease or othervise,
interest:: in real ox Personal property, or any combination
thereof, to construct or instal} improvements, and to lease or
otherwise convey interests in real or pers-nal property or
improvements or any combination thereof to the state of Colorad-s
(the *State”)

(b) To borrow Roney, te become indebted, and to
execute and deliver bonds, notes, er debentures or other
securities, instruzents or obligations for the Purposes of
acquiring such interests in real or personal property,
construct.ng or installing such improvements, or any combination
thereof, and for such other purpose or Purposes ag may be

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Principal office maliing atidress | 1525 Sherman St. 7th Ft, Dever, CO 80203, Umted States

 

 

 

 

 
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Case 1:18-mc-00007-LEK-DJS Documenti Filed 04/09/18 Page 37 of 112

 

 

 

 

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Claim is based on Isiture to tully disclose Esbility iated with private credit Financial have resufed
due to ime invested in process & procedures of lawful maney demand end redemption. Personal injury has occured due to
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Craig Steven

Case 1:18-mc-00007-LEK-DJS Documenti Filed 04/09/18 Page 41 of 112

 

 

 

 

CLAIM FOR DAMAGE, INSTRUCTIONS: Please rezd corehaty the Hztroctona on ine | FORM APPROVED
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Case 1:18-mc-00007-LEK-DJS Document1 Filed 04/09/18 Page 67 of 112

 

 

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Mark Christopher - Claim for $0.00 USD

Case 1:18-mc-00007-LEK-DJS Document Filed 04/09/18 Page 73 of 112

Verification of Signature

{am Mark Christopher, trustee of the resultant trust MARK CHRISTOPHER
BRINTON. | wish for my cause to be joindered with others of similar class filed by
David Merrill in the Albany, New York case entitled similarly to:

Several Garnishments in USDC DC

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United States

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Case 1:18-mc-00007-LEK-DJS Documenti Filed 04/09/18 Page 78 of 112

 

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CLAIM FOR DAMAGE,
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1. 2014 Lawful Money “incomes tax" refund owed for $6,674
2. 2015 Federal Tax Lien for $10,000.
3. State of CA Franchise Board Lien for $4,618.

  
 

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This is a new garnishment against Donald John TRUMP personally for the

Claim amount, due on TRUMP by virtue he has appointed a known pretend

"judge" intentionally and with malice against the United States and reflecting badly

on the good faith and credit of the United States of America in the combinatorial

Comment is about Brett KAVANAUGH.
Michael Holman

Case 1:18-mc-00007-LEK-DJS Document1 Filed 04/09/18 Page 83 of 112

CLAIM FOR DAMAGE, ESTRUCTIONS: Piece scat carmhty te taxicactions one | FORM APPROVED
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Christopher Jonathan - Claim for $40,000.00 USD

Case 1:18-mc-00007LEK-DJS Document 4 Filed O8/25/f,7Rage 1 of 7
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United States District Court for the LAWRENCE x.
District of New York - Albany BAERM, RAMAN, cy eK
James T. Foley U.S. Courthouse ALBANY

1 Suite 509; 445 Broadway
| Albany, N¥ 12207
Garnishments in USDC DC
On ond for the behalf of the
UNITED STATES

| [18-mc-? In re: David Merrill}

 

 

CERTIFICATE OF MAILING

COMES NOW, Christopher Jonathon of the family STEVENSON in like ORDER and
Class, as Trusieve of the Resulting Trust. Demand is made for redemption of central banking
currency in Lawtul Money in all transactions pursuant to Title 12 USC §411 and §16 of the
Federal Reserve Act. Service to the agent is service to the principal and vice versa.

Attached is sufficient evidence that my Documentation is in the custody of the Clerk of
Court as of May 10th, 2018 and it has not been properly FILED and DOCKETED. This is a
violation of Title 18 of the US Code not to file and publish this filing on PACER. [1 is noted that
the position of clerk is in process of being filled - wwwtinyurl.com/BAERMANReplaced - but
this is unacceptable as an excuse for breaking the law. The Document in your Custady - the

Refusal for Cause served shall be published with this Certificate of Mailing. immediately.

(Washer \paHn.

Christopher JonathonTrustee.

Redeemed Lawhil ttenay
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Case 1:18-mc-00007-LEK-DJS Document6 Filed 05/29/18 Page 14 of 15

 

 

 

 

 

 

 

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Rickie Eugene - Claim for $

[ Case 1:18-mc-00007-LEK-DJS Document11 Filed 06/28/18 Page 1 of 40

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FILED
Case #18-mc-7 “Judge” KAHN is Recused for Fraud), 2 8 2018

Verification of Signature = LAWRENCE K. BAERMAN CLERK
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at-Case-#—____-_—___. | wish for my cause to be joindered with others
of similar class filed by David Merrill in the Albany, New York case entitled
similarly to:

Several Garnishments in USDC DC

v
United States

Rickie Eugene Et uxor Eva Krystyna
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Luis Alberto - Claim for $300,000.00 USD

Case 1:18-mc-O00007LEKDJS Document12 Filed 07/05/18 Page 23 of 29

Case #18-mc-? "Judge" KAHN is Recused for Fraud
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Several Garnishments in USDC DC
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John-Paul Anthony

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Case 1:18-mc-00007-LEK-DJS Document18 Filed 08/01/18 Page 9 of 29

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2017 “income tex ralunc” owed for $28,782.08 from the Ginte of A)

 

 

 
Patrick Neill - plus enforcement of lien on Julie FIELD

 

 

 

 

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| CLAIM FOR DAMAGE, INJURY, INSTRUCTIONS: Piease read carefully the instructions onthe §= | FORM APPROVED
OR DEATH reverse side and supply information requested on both sides ofthis | OMB NO. 7105-0008
form. Use additional sheel(s) # necessary. See reverse side for
auiditional instructions.
1 Subst to Appropriate Federal Agency 2. Name, address of claimant, and claimant’s personal representative # any

{See instructions on reverse). Number, Steet, City, State and Zip code.

 

 

‘8. TVPE OF EMPLOYMENT 4 DATE OF BIRTH 5, MARITAL STATUS 6 DATE AND DAY OF ACCIDENT 7 TME (AM OR PM)
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& BASIS OF CLAIM (State in Gated ibe known facts and cecuimelinces atiending the damage. miuty, of death. idenvhying persons and property involved, the place of occurrence and
Mee couse themtot, Use adaaons! peges t necessary, Claimant has two cases in Colorado. El Paso County Courthouse, City of Colorado
Springs, Colorado case number 17CR6545; and Laimer County Courthouse, City of Fort Coffins, Colorado case 18CR315.
Claimant was deprived Substantial Rights by state defendants whereby notice of claim for damages was filed in-person at
Larimer County Court case 18CR315 on April 25, 2018. Defendants have taken property belonging to claimant inciuding, but
rot limited to, his blood without consent, under threat, duress and coercion. Defendants have made false claims and failed to
rebul any counterclaims by claimant. Defendants have forced these cases without valid oaths of office. Their judicial seats
are EMPTY. Claimant has exhausted state remedies via habeas corpus petition fited September 11, 2018 whereby the
Colorado Supreme Court, En Sanc, further denying Substantial Rights. Claimant was further denied future appeal by
Colorado District Court, claimed “article IIT" judge per the Colorado Judicial Website whereby he sustained darnages to
claimant. Claanant was forced to stay in an unfamiliar location within America against his wil while state actors performed
cruet and unusual requests without having authority to do so. Claimants GROHS and FIELD were informed claimant was
Claimants GROHS and FIELD do not possess authority to preside in their seats. They have no oaths. Their seats are
vacant.

ie. PROPERTY DAMAGE

 

 

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Nurnber, Stree? City, State, and Zip Code)

 

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{See instsuchons on reverse side). Claimant had his private conveyance stolen by Larimer County Sheriff with his suppart canine. Cisimant was
forced to pay for “benefits” or face ivotuntary servitude.

 

$9 PERSONAL INSURTAVRONGFUL DEATH

 

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‘OF THE INJURED PERSON OR DECEDENT.

 

a WITNESSES

 

NAME ADDRESS (Number, Sweat, City, State, and Zip Code)

 

 

 

12. (See instructions on reverse). AROUNT OF CLAIM (n cotare) $975, 000.00 (Rese DAMAGES) Redeemed for Lawful Money

 

 

 
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Case 1:18-mc-00007-LEK-DJS Document 38 Filed 12/26/18 Page 6 of 26

 

 

 

 

   

CLAIM FOR DAMAGE, INSTRUCTIONS: Pusce 2030 carey 4 Peructona ons | FORM APPROVED
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Steven Walter

Case 1:18-mc-00007-LEK-DJIS Document 51 Filed 04/17/19 Page 11 of 70

 

 

 

 

CLAIM FOR DAMAGE, INSTRUCTIONS: Presse read carefully the instructors on the on APPROVED
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hossnerz, steven walter, sole grantor,scle beneficiary of the
STEVEN WALTER HOSSNER estate. one of “we the

 

 

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king county, A POLITICAL SUBOIVISION OF THE STATE OF WASHINGTON, and KING COUNTY DEPARTMENT OF
PERMITTING AND ENVIRNMENTAL REVIEW'S business and finance manager Kir Simpson committed perjury and filed a
cisim of ken under color of law against my private proparty on basis of hearsay of coworkers, Sheryl Lux who issued a
fraudulent bill of attainder and Holly Sawin and David Bond who by criminal trespass, espionage, and conspiracy violated my
rights enumerated in the constitution for the united States of America. these actors intent is my involuntary servitude.

 

3 PROPERTY DAMAGE

 

 

NEE ANG ADGRESS OF OWNER, IF OTHER THAN CLAMMANT (Number. Street. Cty, Stae, and Zen Code}.

 

ORIEFL.Y DESCRISE THE PROPERTY. NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED

 

 

(Sea estructons on reverse sade}

Hy PERSONAL DLRARVAVRONGFUL DEATH

STATE THE NATURE ANO EXTENT OF EACH ILRI OR GAUSE OF DEATH, WHICH FORMS THE BAS!S OF THE CLAIM \F OTHER THAN CLAIMANT, STATE THE NANE
OF THE INJURED PERSON OF DECEDENT

Four years of State terrorism, multiple acts of criminal trespass, extortion, threats of violence znd armed robbery. wilful
disregard for my rights, constant harassment, violation of rights under cotor of law, {ling of false claims and perjury under oath,
conspiracy to restrict my fights to life, freedom, property and the pursuit of my happiness.

 

 

 

 

 

 

a WITNESSES
AME ADDRESS Number, Srmet, City, State, and Zp Code)
burt, mark richard 1689 SE 11TH ST GRESHAM OR 97080
fangenstion, timothy pattick general post office. Ravensdale Washingion
12. (Sem InaUCbONs On reverse}. AMOUNT OF CLAS [t: datare}
12a. PROPERTY OAMAGE 1as. PERSONAL AWURY 12 WRONGFUL DEATH {20 TOTAL (Fabure io specty sury chase
forfoaure of your sorte).
41,700.00 41,700.00

 

 

 

 

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FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLARA.

 

 

 

732, SIGNATURE OF CLAIMANT {See instructions or reverse 04) 73a PHONE RUMBER OF PERSON SIGNING FORM | 14. GATE OF SIGNATURE
hestiner) Srceam emt fe 503-522-2778 bf-ty - BE js]
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FRAUDULENT CLAMS CLAN OR MAIONG FALSE STATEMENTS:
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$5,000 end not more thar: $10,000, plus 3 nex tre amount of damages sustained
ny ine Government. (See31 USC, 3723)

 

 

 

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Kelly Lynn is undergoing recent harassment through C-15 Letters.

Case 1:18-mc-00007-LEK-DJS Document 68 Filed 07/08/19 Page & of 18

 

 

 

 

 

 

 

 

 

LAIM AMA INSTRUCTIONS: Pieose read coretully the instuctons onthe =| FORM APPROVED
cl iu FORD ony reverse side and supply information requested on both sides of thie | OMB NO. 1105-0008
INJURY, OR DEA form. Use additional sheni(s) I necessary, See reverse side for
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{See ingieuchons cn eteverse). Number, Suwet, City, Stats and Zip cade.
Kelly Alexander
3 TYPE-OF EMPLOYMENT 4, OATE OF BIRTH 5. MARITAL STATUS 8. DATE ANG DAY OF ACCIDENT 7 TE (AM. OR P.M)
L]munary [x] crvman 04/6/1960 Manied
|B, BASIS OF CLAM (State ins detail that the damage. injury, or death, identifying persons and property involved, the gene of ocourence and

 

the cause therecl. Gscdinaated Paseo pce

Failure or refusal to abide by 12USC411 - redemption of lawful money claimed on tax retum for 2018 in amount of $347 (and
possibly other tax retums from tax years 2014, 2015, 2016, 2017 and into the future) Legal determination made without
identifying any specific prohibited position, without hearing or administrative neview, paper terrorism via threats of extortion of
$10,000 causing undue duress, stress, nightmares, insomnia.

 

8. PROPERTY DAMAGE

 

NAME AND ADDRESS OF OVWNER, IF OTHER THAN CLAIMANT (Hursher, Street, City, State, and Zip Cede),

 

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OF THE UURED PERSON OR DECEDENT.
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NAME ADDRESS (Number, Strmet, Cey, State, and Zip Code}
42. (See instructions on reversa). AMOUNT OF CLAM Gr dobars} '
128, PROPERTY DAMAGE 32. PERSONAL INJURY 2c. WRONGPLA DEATH gt or eee

 

 

 

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Cav. PENALTY FOR PRESENTING CREENAL PENALTY FOR PRESENTING FRAUDULENT
FRAUSALENT CLASS CLAIM OR SRAKING FALSE STATEMENTS
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35,000 and not more than $10,000, plus 3 times the amnournt of danages sustained
by the Government, (See 31 U.S.C, 3720).
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Leith Suzanne

Case 1:18-mce-00007-LEK-DJS Document 82 Filed 09/30/19 Page 11 of 50

 

 

 

 

 

 

 

CLAIM FOR DAMAGE, INSTRUCTIONS: Pease tend carshay Be inemucions on tw | ee SOOO
INJURY, OR DEATH form, Use aidtonal sheets) necistary See reverse xise fot
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1. Sabon io Apprepeate Fedral Agency: Pe eT en meter ma acneae
Lath Suzanne

 

 

 

‘1 TYPEOF EMPLOYMENT 4. DATEOF BIRTH S.UARUTAL STATUS: € DATE ANO DAY OF ACODENT 7, TIME (AA CRF 8}
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e PROPERTY DAMAGE
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(See weruchore oF eermus edi)

 

12. PER LOMAL BLIURTARONOPUL DEATH

 

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C# THE NRE PERSON CH OCEOCMT

 

 

 

 

 

 

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NE SCORESS (lumber, S=cer. Cay, Sate, and Dp Code}
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tortetnrn of yous egtits}.

 

 

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| CERTIFY. THAT THE AMOUNT OF CLAM COVERS DALY OAMACES ASD BLURES CAUSED BY THE INCOENT ABOVE AMD AGREE TO ACCEPT 34D AMOUNT IM

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Rs en Ge

 

 

 

 

 

 

 

 

 

 

 

 

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PRAUOULENT Cae CLAS OF WAKING FALSE STATEMENTS
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by tre Govemwmect, (See 31 USC. 27255
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3-100
Thomas Edward - Claim of $

Case 1:18-mc-00007-LEK-DJS Document 85 Filed 10/15/19 Page 3 of 58

Case #18-mc-7 "Judge" KAHN is Recused for Fraud

Verification of Signature

lam _Thoma, Edward andtsigned-and-filed a Garnishment Action in the
United-States District Court in Washingter DC-at-Case-#——_______ | wish for

my cause to be joindered with others of similar class filed by David Merrill in the
Albany, New York case entitled similarly to:

Several Garnishments in USDC DC
Vv

United States

Chow Chung,

Redeemed Co-Trustee

 

   

Mote

 

Nowe Poa
HARFORO COUNTY: apm, sm
MY COMMERON SMES sexe, 25,

 

2a

 

 

Verified by the Maryland Secretary of State online:

AID FNAME LNAME County ExpirationDate
245622 Alex Tracy Harford County 3/5/2023 15:44

 

 
John Pace’

 

| Case 1:18-mc-00007-LEK-DJS Document$8 Filed 11/12/19 Page 7 of 15

 

 

 

 

 

E INSTRUCTIONS: Please read carefully the insyuctons of the FORM APPROVED
| CLAIM FOR DAMAGE, reverse side and supply informaton requested on both sites of this | OME NO 1105-0008
INJURY, OR DEATH form. Use additonal sheet(s} d necessary. See reverse side for
| 1 Sutema t Appropnaie Faderat Agency 2. Name, address of daiment, and claenact’s personal repeeseniatve d any
{See musinuchors ah veverse) timber, Srést. Cty. State and Zqt onde

| John Pace’
|

3 TYPE OF EMPLOYMENT 8 DATE OF BIRTH $, MARITAL STATUS 6 DATE AND OAY OF ACCIDENT 7 THEA ORP RY

(}wanary [joven

 

 

 

 

 

8. BASIS OF CLAIM (Stee in deta’ the knawn facts and croumstances atiantng the damage, injury, of death, identtying persons and property inetd, Ne piace of opnatence snd
the cause theveol. lise acddeonal pages J necessary)

 

9 PROPERTY DAMAGE

 

NAME ANG ADDRESS OF OWNER, iF GTHER THAN CLAIMANT (Number, Steet City, State. and Zip Code}

 

BRIEFLY GESCRIBE THE PROPERTY NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY May BE INSPECTED
(See wstructions on reverse sidel.

 

1D PERSONAL INJURYANRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WASCH FORMS THE BASIS OF THE CLAM IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT

 

 

 

 

 

 

Ea | WATSESSES
Bae ADDRESS (Number, Sewer. Cay, State, and Zqs Code}
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42 (Son instruckons on eeverse} AMOUNT OF CLAN (in dattars}
tZa PROPERTY DAMAGE Ya PERSONAL INJURY Tae WRONGFUL DEATH 12d TOTAL (Fadure i epecsty mary cae

 

 

 

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CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGALE TO ACGEPT SAD AMOUNT 13
FULL SATISFACTION AND FHiAl, OF THiS CLAM

 

 

 

 

 

 

 

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Wee 4073172075
PRESENTING CRORNAL PEMALTY FOR PRESENTING FRAVOULENT
FRA! ENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The losneant 1 Sabie t the United States Governed for = cnt penaity of not hees San Fine, snoreorenent of both (See thU S.C 287, 1064 5
35.000 and not more then $10,000, plus J tenes #6 ammouni of damages sustamed
by the Government, (See 31.50 3729}
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95-109 20CFR 142

 
Jonathan Dean

 

 
   

 

 

CLAIM FOR DAMAGE, STRUCTIONS: cB Nc A CI OR
reverse side and supply information requested both sides ofthis | OMB NO. 1105-0008
INJURY, OR DEATH form Ure addtional chovt{a) B necessary, See reverse side fo
additonal insinzctions.
1. Submit io Appropetels Federal Agency: 2. Rare, wddness of claienant, and Calmants personal repensentative if ary.
(See inetuctons on reverse) Number, Street, City, State und Zip code.
Jonathan Micheal

118 Victory Road, #134
Springfield, New Jersey 07081

 

 

 

 

 

 

 

 

3 TYPE OF EMPLOYMENT 4. DATE OF BERTH E.MARITAL STATUS | 6. DATE AND DAY OF ACCIDENT 7. TIME (AM ORPM)
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& GASIS OF CLAM (State in he @etsand the damage, inkury, or dasth, identifying persons and property invoived, She place of occurrence andi

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8. PROPERTY GAMAGE
NAME AND ADORESS OF OVNER, IF OTHER THAN CLASMANT (Nurmber, Sinpat. City, State, and 215 Code).

 

 

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{See Instructions on rrrveree side}.

 

10. PERSONAL (NJURVAVRONGFUL DEATH
| STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAMANT, STATE THE NAME
oF INSURED PERSON OR DECEDENT,

 

 

 

 

 

 

 

1, WITNESSES
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12. (See instuctons cn reverse}. ABSQUMT OF CLARA {in dofars)
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i lorfelre cf your rights}.
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{CERTIFY THAT THE AMOUNT OF CLAM COVERS ONLY DAMAGES AND ILRNUES CAUSED GY THE INCIDENT ABOVE AND AGREE T0 ACCEPT SAID AMOUNT tH
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13. PHONE NUBMBER OF PERGON SIGNING FGRM |14. DATE OF SIGNATURE

 

 

 

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CLAIM OR MAICNG FALSE STATEMENTS

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$5,000 aext nol moce than $10,000, plus 3 tires the amound of damneges sustained
ty the Goverment. (See 31 U.S.C, 3729).

 

 

 

 

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